        Case 17-52260-lrc          Doc 140 Filed 06/17/20 Entered 06/25/20 11:10:03                            Desc
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 1
                                                                                     Filed in U.S. Bankruptcy Court
 2   Leslie D. Hughes                                                                       Atlanta. Cieorgia
                                                                                        M. Regina TIvirniN. Clerk
     2270 Charleston Place
 3   Lithia Sprinas, GA 30122
     770-639-9727
                                                                                            JUN' 1 1 2020
 4
                                                                                       B
                                                                                             Deputy Clerk
                                          UNITED STATES DISTRICT COURT

                                         NORTHERN DISTRICT OF GEORGIA

                                                   ATLANTA DIVISION


 9
     N RE:                                                        Case No.: 17-52260-LRC CHAPTER 13
10
      ESUE. MONNE. HUGHES,                                  ) CASE NO. 17-5169-LRC
11                                                          ) ADVERSARY
     DEBI R                                                 1
12                                                          )       -EMERGENCY-

                                                              )
13
                                                              )
14                                                            )   MOTION FOR SANCTIONS AND CONTEMPT

15


                This    .ion is filed seeking an order of contempt, sanctions, and judgment Under 11 U.S.C. §§
17
     105 and 362 and this Court's inherent power. Debtor respectfully moves for an order of contempt and
18
     other relief against Nationstar Mortgage LLC d/b/a Mr. Cooper and counsel(s). Debtor supports this
19
     motion with the attached exhibits. I ask the court to please incorporate the records of the above identified
20
     Chapter 13 fiiings by reference.
21
                I respectfully beg the Courts understanding       to the form ot this Motion, and respectfully request
22
     leave of     4 Court to amend it Motion is found deficient. Coyid-19 and the mandated responses continue
23
     to have a major affect on myself, and my family. I personally have, had to isolate twice. My health during
24
     this pandemic requires constant monitoring of blood clots, fevers, more pains than usually, etc. I like so
25
     many others consumers have and continue to deal with the financial loss implications of Covid-19 and the
26
     loss of life due to covid, All the while I am trying to stay optimistic like most people at this point in time,
27

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 2   loss of life due to covid. All the while I am trying to stay optimistic like most people at this point in time,

 3   efforts apparently continued despite the bankruptcy stay and other current federal laws and mandates

 4   that forbid the prerequisite steps taken to wrongfully take the home I am currently isolated in with my

 5   minor daughter.

 6                                                 RELEVANT FACTS.

 7

 8           To mitigate the harm caused by the pandemic Covid-19, Congress enacted the Corona virus Aid,

 I   Relief, and Economic Security Act (the "CARES Act"), Public Law No. 116-136. The CARES Act provided

10   Consumers with a foreclosure moratorium March 18 - May          17 , 2AZA   and per Fannie Mae extended to

11   June 30, 2020. Out of an abundance of caution and having not received a ruling from the Court I sent a

12   written request to Mr. Cooper requesting 180 day forbearance (see exhibits), having read complaints

13   online of other homeowners receiving foreclosure notices and summons from Mr. Cooper even in states

14   that joined the federal moratorium preventing foreclosures such as the orders issued by Florida's

15   Governor.

16            Nationsiar Mortgage LLC d/b/a Mr. Cooper attended the February 24,2020 in which the claim its

17   validity and amount have been formally disputed with Seterus lnc, Fannie Mae and Mr. Cooper. Ms.

18   Matlory Vel6n was the Counsel of record for all parties Nationstar d/b/a Mr. Cooper having transferred

19   Seterus claim and called a Nationstar representative as a witness.

2A            Also pending from the February hearing are multiple motions for sanctions against the original

21   Claimants and Counselforvarious improperfiling in the land records and the Court related to the propen

22   of my estate, these issues have not been ruled on by the Court.

23           I received a notice of a Hearing from the law firm of Robertson, Ansehutz, Schneld & Crane,

24   and LLC listing Andrea L. Betts as the attorney. The Notice of Hearing was filed 51U2020 seeking a

25   relief from the automatic stay in order to foreclose on the home I cunently occupy with my minor

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     daughter. The hearing date and time was set for June 9, 2020 al1:15 pm in courtroom 1204 according
                                                                                                        to
2

 3   the Notice. I received the notice in the mailtowards the end of May'

4             This law firm claimed to represent Nationstar Mortgage LLC dlbla Mr. Cooper. When last I was

 5   made aware Nationstar Mortgage LLC d/b/a Mr. Cooper was represented by Brock & Scott and counsel

 6   was Mallory Velton who was their Counsel at my hearing in February and during the span of this Chapter

 7   13 filing.

 I                The Notice of Hearing had attached to it, a Motion for Relief from Automatic Stay to have the

 9   bankruptcy stay "removed so that Mr. Cooper could foreclose". Also, there was a Corporate Assignment

10   of Security Deed indicating "Recording Requested By: NATIONSTAR MORTGAGE DBA MR' COOPER'

11   This Assignment was dated April 16th, 2020.

12                Assig no r:   F E D E R AL N ATt O N A   L   MO   RTGAGE A SSOC/A Tl O N, BY N AITOTVS IAR M O RTG AG E

13   LLC, IT'S ATTOR NEY.IN-FACT.

14                ASSIGiTEE: NATT)NSTAR MORTGAGE LLC D/B/A MR. COOPER

15                Apparenily, NATIANSTAR MARTGAGE DBA MR. COOPER has recorded this assignment

16   against my property into the Douglas Counly land recods. My only notification of this is contained in the

17   very poorly made copy of these documents finally mailed to me from the law firm Robertson, Anschutz,

18   Schnetd & Crane, and LLC

19                I had not received anything from the Courts as far as any Orders pertaining to the hearing from

20   the Claim objection or the other pending matters thal were before the Court, I could do noihing but panic

21   as I saw myself homeless with my child in the middle of this pandemic. lwas in isolation and being

22   informed of a hearing to determine if I am going to lose my home by some unknown law firm claiming to

23   now represent NATIONSTAR MARTGAGE DBA MR. COOPER.

24                I   finally got through to a live person in lhe Bankruptcy Clerks office on 5-27-2A20 at 3:30 pm and

25   the lady I spoke with stated the Notice had been withdrawn and the hearing was cancelled on May 14,

26   2024.

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 2           As of today I still have not received written notice of the cancelled Hearing or any other

 3   conespondence or call from the law firm Robertson, Anschutz, Schneld & Crane, LLC listing Andrea

 4   L. Betts as the attomey. I have not heard from Mr. Cooper. I have however received a copy of

 5   "Notice of Appearance and Request for Notice filed by Albertelli Law, indicating they have also been

 6   retained on behalf of Nationstar Mortgage LLC d/b/a Mr. Cooper counsel is Cory P. Sims Esquire.

 7           Because of the documented history of servicer abuses with this old WAMU account I could not

 I   frnd calm is the verbal information given on the phone from the clerk. I have been unable to sleep, get my

 9   blood pressure down, chest pains, headaches and now panic attacks. June 1,2020 I sent an email to

10   Christy Lee (Courtroom Deputy Clerk for Judge Lisa Ritchey Craig) to confirm what I was previously told

11   and she was kind enough to respond the same day. I did not want to appear to rush the ruling from the

12   Judge but was simply trying to calm my fears.

13           Cristy Lee was kind enough to confirm that "Judge Ritchey Craig has not entered any order on

14   the pending matters heard on February 24,2020". Also confirmed by Cristy Lee, "Yes, the docket reflects

15   that the Motion was withdrawn on May 14, 2020 al Doc. No. 138" and that "Your Chapter 13 case, 17-

16   5226A is an open Chapter 13 Case assigned to Judge Ritchey Craig."

17           However, Cristy Lee could not verify if Ms. Velten was no longer counsel "l do not have

18   knowledge of Ms. Betts replacing Ms. Velten." How many law firms are presently representing Mr.

19   Cooper? Who should I serve notice to? Who is now Counsel for Fannie Mae? There have been no

2A   reasonable disclosures or attempts to confer given the current circumstances and the pafties involved.

21           As the homeowner, there appears to be a specific intent to wrongfully facilitate a non-judicial

22   foreclosure of the my home and to make it more difficult for me, a Pro Se Debtor to identify the actions

23   being taken against my property and by whom, while I am waiting on a ruling from Judge Craige.

24

25                                          AURGUMENTS AND AUTHORITIES

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 2           The misconduct of Mr. Cooper in this matter is a continuaiion of a larger pattern and practice of

 3   inappropriate mishandling of consumer mortgage transactions causing undue harm and harassment of

 4   homeowners.

 5            "... lack of poticies and procedures, Nafionsfa r failed to conduct a "reasonable investigation" as

 6   required by 12 lJnited Sfafes Code section 2605, subdivision (e), in response to a bonower dispute that

 7   was the subject of a cansumer comptaint received by the Depaftment. This failure constitutes a violation

 I   of FinancialCode secfion 22346, subdivision (a), and Financial Code secfion 50505, subdivision (a)."

 I           Nationstar Mortgage LLC d/b/a Mr. Gooper willfully filed the deed assignment with full

10   knowledge of the open bankruptcy.

11           lf I read correctly, "When the bankruptcy petition is filed an automatic stay against the creation,

12   pertection or enforcement of any tien againstthe    propefi   of the estate is put in place."

13           Nationstar Mortgage LLC dlbla Mr. Cooper filed a deed of assignment against my home April 16,

14   2020; there is no corresponding power of attorney on file for the alleged authority authorizing Mr. Cooper

15   to file the assignment on behalf of Fannie Mae.

16           Nationstar Mortgage LLC d/bla Mr. Cooper is fully aware of the invalidity of the claim inherited

17   from Seterus, lnc and has ignored the mandates placed upon the accounts acquired from Seterus from

18   regulators.

19           On September 20th, 2019 State Regulators (including Georgia) finally through the Conference of

20   State Bank Supervisors and the American Association of Residential Mortgage Regulators agreed to

21   address enforcement concerns with Seterus in a collective and coordinated manner, working through the

22   Multi-State Mortgage Committee ('MMC).

zc           Seterus lnc. violations of both state and federal laws with respect to mortgage lending and

24   servicing warranted the allowance of voluntarily surrendering mortgage servicing or other applicable

25   licenses in allstates in which Seterus was engaged in mortgage servicing activities requiring

26   licensure. (See attached exhibit.)

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 2           However, this settlement was on the heels of countless class action suits filed against Seterus in

 3   retation to its mortgage activity. After apparently as of February 28, 2A19, Seterus was sold, including all

 4   rights and certain liabilities, to Nationstar Mortgage LLC d/b/a Mr. Cooper ('Purchaser'') and its entire

 5   mortgage loan servicing portfolio was transferred to Nationstar. Which means Nationstar now has the

 6   same forged documents that Seterus had and Chase before Seterus etc.

 7           Nationstar is among the most complained-about companies according to the Consumer Financial

 I   Protection Bureau's reports on consumer complaints. Nationstar also earned distinction by being

 I   assessed the largest civil penatty ever imposed by the CFPB for flawed records and reporting violations

10   of HDMA requirements.

11           Nationstar who is statically believed the only other non-bank entity that has rivaled Seterus in

12   class action suits, consumer complaints and consent orders for non compliance with federal and state

13   regulations with respect to mortgage transactions.

14           As far as I can tell by the corporate assignment attached to Doc. Entry #136 pg 34 filed by

15   Robertson, Anschutz, Schneld & Crane, LLC lisling Andrea L. Betts on behalf of Nationstar d/b/a Mr.

16   Cooper, the actual assignment was filed into the land records by Nationstar Mortgage DBA Mr. Cooper.

17            "actions taken in violation of the automatic stay are void," Sambob Restaurants, lnc. v. Wheeler

18   (ln re Sambo's Resfaurants, lnc.),754 F.2d 811, 816 (9th Cir. 1S85).

19           Nationstar has not acted in good faith by its own conduct in this case. No Counsel has disclosed

20   any information since the hearing. As a Pro Se Debtor I do not have access to the Court docket under

21   isolation and mandates to stay home, Counsel and the Claimant does and would be fully aware of all

22   pending matters in the Chapter 13 filing.

23           Nationstar should not be allowed the excuse of enor for filing the stay lift motion. lt was filed in

24   defiance of federal law and Fannie Mae written mandates causing great stress and strain to this already

25   battered Pro Se homeowner.

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 2           "A principal is subject to liability to a third party harmed by an agent's conduct when the agent's
                                                                                                                      I



 3   conduct is within the scope of the agent's actual authority or ratified by the principal; and (1) the a0ent'sl

 4   conduct is tortuous, or (2) the agent's conduct, if that of the principal, would subject the principal to tort
                                                                                                                      I


 5                                                                                           legal
     liability." "An agent acts with actual authority when, at the time of taking action that has                     I




 6 consequences for the principal, the agent reasonably believes, in accordance with the principal's                  I




   manifestations to the agent, that the principal wishes the agent so to act." In re Renfrow, Nos. 17-
                                                                                                                      I


 7                                                                                                                    |



 I 10385-R, 17-1027-R, 2019 Bankr. Renfrow, at 80.
                                                                                                                      I




           United States v. Flynn (ln re Flynn), 185 8.R.89, 93 (S.D.Ga.1995) (affirming $5,000 award of
                                                                                                                      I

 9
                                                                                                                      I


10   emotional distress damages, with no mention of corroborating testimony, because "it is clear that appelleel
                                                                                                                      I

11   suffered emotional harm" when she was forced to cancel her son's birthday party because her        checking      I




12   account had been frozen, even though the stay violation was brief and not     egregious).                        I
                                                                                                                      I




13           Violation of the automatic stay is presumed deliberate if the creditor has actual notice of   the        I




                                                                                                        2008).
                                                                                                                      I


14   bankruptcy. Spinnerv. Cash ln A Hurry, LLC (ln re Spinner), 398 B.R. 84, 94 (Bankr. N.D. Ga.
                                                                                                                      I


15   Upon obtaining knowledge of the bankruptcy, the creditor bears the burden of not violating the automatic
                                                                                                                          I



16   stay. Caffey, 384 B.R. at   307.
                                                                                                                      I


17           "Claims of emotional distress are actual damages, and Plaintiff's attestations are sufiicient for thisl

18   Court to make a finding of emotional distress." ln   re Evans 1\3O\O-JCO     citing In re Wassem, 456   B.R.
                                                                                                                          I


19   566,572 (Bankr. M.D. Fla.    2009).                                                                                  I

                                                                                                                          I


20           The court may utilize its inherent contempt powers of $ 524, and its statutory contempt nowers of

21   g 105 in issuing sanctions. Hardy,97 F.3d at 1388-1390. A debtor is not required to      provide                     I




                                                                                                                          I
                                                                                              *7        (Bankr.
22   corroborating medical evidence of emotional distress. ln re Johnson, 2012 WL 3905176, at
                                                                                                                          I



23   S.D. Ala. Sept. 7, 2012) (citing Wassem    a1572)                                                                    I




                                                                                                                          |

24           Punitive damages may also be awarded for contempt actions involving intentional and eOre9ious
                                                                                                                          I




25   conduct. Johnson al*7 (citingWassem,456 B.R. at 573)                                                                 |
                                                                                                                          I



26                                                                                                                        I


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 3             Mr. Cooper's actions should be determined more egregious for the fact that this nation as a whole

 4   is in a national emergency and Mr. Cooper (Nationstar) is misrepresenting and misleading homeowners

 5   to their detriment of their Mr. Coopers efforts to assist. Nationstar has a history of this particular deception

 o   in the time of disasters. (See exhibits)

 7             "The automatic stay is one of the fundamental debtor protections provided by the bankruptcy

 I   laws.     lt gives the debtor a breathing spellfrom his         creditors. lt stops atl collection efforts, all plan, or

 I   simply to be relieved of the financial pressures that drove him into bankruptcy." lN RE: Dawson citing

10   H.R.Rep. No. 95-595, at 340 (1977), reprinted in 1978 U.S.C.C.A.N. 5963, 6296-97; see a/so S.Rep.                      /Vo.


11
     g5-g1g,   at   54-55 (1978), reprinted in 1978 U.S.C.C.A.N. 5787, 5840-41 (same first paragraph)

12             "The eonsumer who seeks the relief of a bankruptcy court is an individual who is in desperate

13   trouble The shoft term future tltat he faces can literally destroy the basic integrity of his ttousehold. We

14   betieve that fhis individuat is entitted to a focused and compassionate effoft on the part of the legal

15   system to alteviate otherwise insurmountable social and econamic                 problems.    We believe that relief

16   shoutd be provided with fairness to all concerned but with due regard to the dignity of the consumer as an

17   individuat who is in need of help." lN RE: Dawson citing H.R.Rep. No. 95-595, at 173, reprinted in 1978

18   u_s.c.c.A.N. 5963,         61   34.

               Not only has there been a violation of the bankruptcy           stay   '11 U.S.C. $ 362, Mr. Copper violated
19

20   the CARES act that was signed into federal law that forbids servicers of federally backed mortgage loans

21   from i nitiatino   a   nv j udicial or n onj udicia I foreclosu re processes.

22             To reduce      the risk of widespread foreclosures, Congress passed the Coronavirus Aid, Relief , and

23   Economic Security Act (CARES Act). Pub. L. No. 116-136 (Mar. 27, 2020).

24   CARES Act S 4022(c) (2) forbids servrcers af federally tsacked mortgage loans fram "EJIE7{!E[.LAAY

25   judicial ar nonjudicial foreclosure process, mavfing] for               a foreclosure judgment or order af sale, or

26   execut{ing} a foreclosure-retatecl evictian or foreclosure sale" through May 17, 2020.

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2             Nationstar d/b/a Mr. Cooper should not be allowed to place another cloud upon the title to my

 3   home..

4             A debtor is entiiled to recover compensation for emotional harm resulting from a violation, even in

 5   the absence of any economic loss. /n re Feldmeier, 335 B.R. 807, 813-814 (Bankr. D. Or. 2005)

 6            A contemnor must generally reimburse a debtor's fees and costs incurred up until the time     I




                                                                                                    (ln re
 7   is determined and contempt is remedied. See, e.g., America's Servicing Co. v. Schwarfu-Tallard

 I   Schwartz-Tatlard),165 F.3d 10gO (9th Cir. 2014) (pending re-hearing enbanc).

 I            lf a creditor refuses to admit liability, it must reimburse a prevailing debtor's fees and costs

10   incurred through trial and on prove up. tn re Cutpepper,2013 Bankr. LEXIS 541,2013 WL 501662

11   (Bankr. D. Or. Feb. 11,2013) (compensating debtor $38,370.50 fees and costs through trial where

12   creditor's delays and ultimate refusalto admit liability necessitated a full evidentiary hearing).

13                                                   PRAYER FOR RELIEF

14            I respectfully request the court to order the assignment recorded by Nationstar against ihe

15   property of my estate in violation of the stay void and removed from the County land records'

16            An order that Nationstar Mortgage DBA Mr. Cooper and related Counsel is in contempt of the

17   automatic stay.

18            lf the Court determines that Nationstar indeed act with authority from Fannie Mae that I be

19   allowed to amend to include Fannie Mae's conduct and agency.

20            lssue an order to compel Nationstar to disclose its legal interest and all Counsel representing its

21   interest in this matter.

22            Sanctions and an award of damages both compensatory and punitive, fees, costs and expenses

23   for violating of the automatic stay.

24            lssue an order to the Douglas County land records declaring the remnants of WAMU's fraud

25   linked to my home satisfied and permanently enjoining future alleged selling.

lo            Peace of mind after 14 Years

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 2            Any and all such other relief the Court determines      is   just and proper

 3

 4

 5            I   declare under penalty of perjury under the laws of the United States of America that the

 6    foregoing is true and correct

 7

 I                                                            Dated this 16th of June, 2020

 I
10
                                                              Leslie D. Hughes
11                                                           2270 CHARLESTON PLACE
                                                             LITHIA SPRINGS GA 30122
12

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               EXHIBITS
                         LTHRU 4
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 To: Whom it may concern (Mr. Cooper|
 From: Leslie D. Hughes
 PropertyAddress: 227A Charleston Place Lithia Springs GA30t22
 Mr. Cooper #0660794629
 Fannie Mae #: t7A2O4OOt7
 Re: Request for Forbearance under the CARES Act.


 I am Leslie Hughes and   the owner and occupant of the property located at227A Charleston
 Place in Lithia Springs, GA 3A122.

 Iattest and affirm that I am experiencing a financial hardship caused by the COVID-19
 emergency and request forbearance under the CARES Act for 180 days.

 I understand the CARES Act, provides   for twa kinds of relief:

 CARESAct $ 4022{b) requires servicers of federally backed mortgage loans to grant forbearance
requests from borrowers "experiencing a financial hardship due, directly or indirectly, to the
COVID-19 emergency."

CARES  Act S 4022{cX2) forbids servicers of federally backed mortgage loans from "initiat[ing]
any judicial or nonjudicial foreclosure process, mov[ing] for a foreclosure judgment or order of
sale, or execut[ing] a foreclosure-related eviction or foreclosure sale" through May 17, 2A2O.
This applies to occupied properties and does not require the homeowner to take any action.
On May L4,2O2O, Fannie Mae, Freddie Mac, FHA, VA, and USDA all issued servicing guidelines
that extend the foreclosure moratorium until at least June 30,2020.

 Please confirm thatyou received my request for forbearance under the      CARES   Act. I
appreciate your help during this difficult time.



Thank You




/rrl:*         b'
Leslie D. Hughes
                    il'/*
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                    OFFICE OF THE ATTORNEY GENERAL
                            STATE OF FLORIDA
                     DEPARTMEI\T OF LBGAL AFFAIRS


 TN   THE INVESTIGATION OF:


                                                AG Case Number: LI&-s-lZZg

 Nationstar Mortga ge LLC,
 dlbla Mr. Cooper,

              Respondent.


                 ASSURANCE OF VOLUNTARY COMPLIANCE

       Pursuant to the provisions of Chapter 501, Part II, Florida Statutes, the Florida

Deceptive and Unfair Trade Practices Act ("FDUTPA"), the Office of the Aftorney

General, State   of Florida, Department of Legal Affairs ("Attorney General',)          has

investigated certain acts and practices of Nationstar Mort gageLLC dlb/aMr. Cooper

("1'trationstar"), related to enrollment of Florida Consumers into Forb earanceplans.
                                                                              "-_-_+%

       Nationstar enters into this Assurance of Voluntary Compliance ("AVC',) with

the Attorney General without an admission of wrongdoing and for the purpose             of
resolving this matter   only.   Pursuant to Section 501.207(6), Fiorida Statutes, the
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  Attorney Generai accepts this AVC in termination of its investigation of Nationstar,s

  Forbearance Plan program in response to Hurricane Irma,


                                I.    STIPULATED FACTS

          1.1.   Nationstar is a Delaware limited liability company with its principal

 place    of business at 8950 Cypress Waters Boulevard,                  Coppell,    TX   75019.

 Nationstar engages primarily in mortgage servicing;             it   makes, funds, purchases,

 services, and collects on loans to Florida Consumers and nationwide. Nationstar's

 mortgage servicing business also includes loss mitigation services, such as assisting

 consumers in takin    g   advantage of forbearance plans that were created and offered

 by Fannie Mae, Freddie Mac, and FFIA in response to a natural disaster, including

 after Hurricane Irma.

       1.2. On September 4, 2017, Florida Governor Rick Scott, issued Executive
Order Number 17-235 declaring a state of emergency in every county in the state              of
Florida in anticipation of Hurricane Irma, a category 4 stom.

       1.3. As Hurricane Irma          approached Florida, many Florida Consumers

incurred significant costs due       to   evacuation and   /   or purchase of       emergency-

preparedness commodities. Following          ltma's landfall and statewide impact as a

category   4 hurricane, many Florida Consumers: 1) lost power                and   /or internet
access;   2)   experienced disruption     in employment    and   / or income; 3) incurred
substantial costs for lodging and I or travel due to evacuation; and 4) paid substantial
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  sums       of money for      repairs to their homes, associated tree removal and other

  hurricane-rel ated damage, and hefty homeowners' insurance deductibl es.

             l-4.    Due to these significant costs incurred in preparation for Hurricane

  Irma and for hurricane-related repair expenses to homes following the storm,
                                                                               in
 addition      to associated      financial distress, many Florida consumers required

 assistance with their mortgage payments.

         I   '5.    In mid-September 2017,Nationstar began communicating with Florida

 Consumers          to   assess their need   for assistance and offered to enroll them in     a

 Forbearance Plan, which allowed consumers to refrain from making
                                                                  their monthly
 mortgage payments, or to make reduced payments, for three to six months.
                                                                          The

 Forbearance Plan was represented to provide Florida Consumers relief
                                                                      from making
their full monthly mortgage payments
                                                - during the term of the Forbearance plan -
without a reported delinquency.

       1.6. Nationstar initially communicated with Florida                 Consumers via
outbound and inbound telephone communications and enrolled a number
                                                                    of Florida
Consumers into Forbearance Plans pursuant to the terms as represented
                                                                      during this
initial telephone communication. Following enrollment in a Forbearance plan
                                                                            by
telephone, Nationstar confirmed the Forbearance plan through                    a   written
communication sent to the applicable Florida consumer.
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        1.7   .   Nationstar enrolied approximately 19,500 Florida Consumers into

 Forbearance      Plans. Over 15,000 Florida Consumers were Current or Due for

 September when they enrolled       into the Forbearance Plan. Of those Florida

 Consumers that were Current or Due       for September at enrollment, a significant
 number became delinquent immediately after expiration of the Forbearance plan.

 Itlationstar communicated or attempted to communicate with such consumers to

 resolve the delinquency through modifications or other workout solutions that were

 available pursuant to investor guidelines. Certain consumers did not, however,

 enroll in a modification or other workout solution, and, in such cases, Nationstar

 demanded full payment of the forborne payments.

       1'8' The Attorney General received complaints from Florida Consumers
enrolled in Forbearance Plans and opened an investigation into Nationstar's conduct.

Some or ali ofthese Florida Consumers who filed complaints alleged that Nationstar

led them to believe the forborne payments during the Forbearance Plan (often three

to six payments) would be added to the end of the loan to bring them curent when

the Forbearance Plan expired. These consumers further alleged that Nationstar,

instead of adding the forborne payments to the end of the loan, required the forborne

payments to be repaid immediately after the Forbearance Plan expired, subjecting

such consumers to instant delinquen cy and risk of foreclosure.




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         1.9-   Due to the risk of foreclosure, and at the Attorney General's request,

  Nationstar placed a foreclosure hold on any Florida Consumers' accounts that
                                                                               were

  Current or Due for September and had entered into a Forbearance plan.

        1'10. This AVC is the result of Nationstar working cooperatively with the

 Attorney General.

                                 2.     DEFTNITIONS

        2.1     "Florida Consumer" means any consurner that owns     a property located

 in the state of Florida with a mortgage serviced by lr{ationstar.

       2.2    "Forbearance Pian" means any disaster related forbearance plan offered

 to Florida consumers in response to Hurricane Irma.

       2.3    "Clear and Conspicuous" (including "Clearly and Conspicuously,,)

means that    a statement, representation, claim, disclosure, or term, collectively
referred to as a "disclosure," being conveyed is easily noticeable and
                                                                       understandable.

In order to be Clear and Conspicuous:

           a.        a visual disclosure shall be presented in a rnanner so that it is

suffrciently prominent because of its location on a page or document, type size,
                                                                                 font,
contrast to the background against which it appears, color, length of time
                                                                           it appears
in an electronic format, or other characteristics, such that it   stands out from any

accompanying text or other visual elements and that     it is easily noticed, read and
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  understood; disclosures that are on the back of a document or page, in lighter color,

  or in smaller type size than other disclosures, are not Clear and Conspicuous;

               b.     the disclosure shall be displayed         in close proximity to the
 statement, representation, claim, or term       it ciarifies, modifies, explains, or to which

 it otherwise relates; disclosures that are accessed or displayed in online interactive

 media through hyperlinks, pop-ups, interstitials, or similar means are not "in close

 proximity;"

             c.      the disclosure shall be unavoidable and shall be placed within the

 advertising or offer at locations where the Consumer is sure to see or hear it and shall

 be repeated as often as necessary so that   it is effective;

            d.       the disclosure shall be presented in a coherent and meaningful

sequence with respect to other terms, representations, claims, or statements being

conveyed;

            e.      the disclosure shall use language commonly understood by                 a

Consumer;

            f.      the disclosure shall not be accompanied by distracting sounds,

graphics, or text that compete for the attention of the Consumer; and

            g.      statements, representations, or messages contrary to, inconsistent

with, or in mitigation of the disclosure shall not be used.




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        2.4    "Efftctive Date" means the date on which this AVC is fully executed

 by the parties.

        2.5    "Current" means that the mortgage loan payment obligation for                 a

 Florida Consumer enrolled in a Forbearance Plan was up-to-date through August            1,

 2017 and the payment due and payable on September i ,2017 had been made by the

 Florida consumer prior to enrolling in the Forbearance plan.

       2-6     "Due for September" means that the mortgage loan payment obligation

 for a Florida Consumer enrolled in a Forbearance Plan was up-to-date through

August 1,2017 andthe payment due andpayable on September I,ZAl7 hadnot been

made by the Florida Consumer prior to enrolling in the Forbearance plan.

                        3.         JURISDICTION AF{D VBNUE

       3.1    The parties agree that the State of Florida has jurisdiction over

Nationstar for the purposes of entering into this AVC and any enforcement actions

arising out of this AVC.

      3.2     It is further   agreed by the parties that venue for any matters relating to

or arising out of this AVC shall lie solely in Hilisborough County, Florida.

                              4.    COMPLIAI\CE TERMS

      4.I    Nationstar is on notice and shall comply with the provisions of Chapter

501, Florida Statutes, specifically Sections 501.201 through 501.213, Florida
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      before enrollment in the Forbearance Plan and have since sent .a complaint to

      Nationstar alleging that their credit has been negatively impacted. This action shail

      include, but is not limited to: correcting inaccurate reporting to the consumer

      reporting agencies, verifliing that such action has occurred, and noti8ring the

      borrower about the issue.

                   5.1    Nationstar shall develop and implement enhanced training for all

      employees regarding disasters, disaster forbearance plans, the substantive provisions

      of this AVC, and how to proceed during declared states of emergency in the State of

     Florida.

                                           6. PROHIBITED CONDUCT
                  Nationstar, including its agents and employees, shall make no false or

     misleading representations in any communications or marketing to consumers about

     Forbearance Plans and any other disaster forbearance plans relating to future natural

I    disasters.
           .-F*
G=     -
                                      7.    MONETARY RELIEF

                  Restitution

                  7.1    Nationstar shail distribute restitution payments to Florida Consumers

     pursuant to Paragraphs 7.4 and7.5 below.




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  agents, independent contractors, or other persons who are substantially affected by

 this AVC     in atimely manner.

         13.2 Nationstar shali complete any necessary training required by this AVC

 for any managers, members, officers, directors, employees, agents, independent

 contractors, or other persons in a timely manner.

         i 3.3 The obligations imposed by this AVC are continuing in nature and shall

 apply to Nationstar's successors and assigns as well as any and all current or new

 officers, employees, agents, representatives or any other persons who become

engaged in the business or activities of Respondents.

                    14.   CHANGES IN BUSINESS PRACTICES
        Nationstar shall not alter either its business practices or the organizational

identity of any existing business entity or create any new business entities as a

method of avoiding the obligations and terms and conditions set forth in this AVC.

                                   15.   NOTICE
        Notice to any of the parties to this AVC as may be required shall made by

certified mail at the addresses set forth below unless any pafty notifies the other

parties in writing of another address to which notices should be provided.

To l.trationstar:

l.Iationstar Mortgage LLC dlblaMr. Cooper
Attn: General Counsel
8950 Cypress Waters Blvd.
Coppell, Texas 75019

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To the Attorney Generai:

Anthony S. Bradlow, Assistant Attorney General
Office of the Attorney General
Consumer Protection Division
3547 East Frontage Road, Suite 325
Tampa, Florida 33607


      IN WITNESS WHERBOF, Nationstar has caused this AVC to be executed

by an authorized representative in the county and state listed below, as of the date

affixed thereon.


                   SIGNATURES ON SEPARATE PAGE(S)




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  For the State of Florida:

 PAMELA JO BONDI
 Attorney General



    f,LAL*
 PATRICIA A. CONNERS
 Chief Deputy Attorney General
 FL Bar No. 361275
 Office of the Florida Attorney General
 Capitol -Plazalevel - Room pL-O1
 Tallahassee,FL 32399
 Tel:   850-245-014A
 Fax: 850-487-2564

 Accepted   this    I   Q Oay or *d#*^b^r;Zg1g.


VICTOzuA A. BUTLER
                                    ,ekf/L
Director, Consumer Protection Division
F-L Bar No. 861250
Office of the Florida Attorney General
3507 E. Frontage Road, Suite 325
Tampa, FL 33607
Tel: 813-287-7950
Fax: 813-281-5515

Accepted    this   ll     auy   or,9-OltlMMorc.


ANTHONY S. BRADLOW
Assistant Attorney General
FL Bar No. 104904
Consumer Protection Division
Office of the Florida Attomey General
3507 E. Frontage Road, Suite 325
Tampa, FL T6A7
Tel: 813-287-7950
Fax: 8 I 3-28 1 -55 I 5

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Fot Nationstat Mortgage LLC d/b/a Mr. Cooper:




Steve Covington
EVP and Chief Compliance Offrcer

Accepted ttns   sffiy t js€ug*-,zotl.




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                                                                                                                Desc


                                                                    )                   qTFI JUDICIAL CIRCUIT
COUNTY OT CHARLESTON
                                                                )        CASE NO.: 201ti-Cp-tO-gag
                                                                )
U S BANK        NAI]ONAL ASSOCIA'I'ION AS                       )               MOTION A}t{D ORDER INFORMATION
I'RUS'fEE
                                                 Plaintiff,     )                    I-ORIfi ANI} COVERSHEET
                              vs.                               )
                                                                )
HELEN SINGI-ETON                                                )
                                              Defendant.        )

    Plaintiff's Attorney:                                                l]ef'endant's Attorney:
           Bar No.                                                                Bar No.


                                                                         Phane:         FeLx
                                                                                        Ot.her:
      MOTION HEARING REQUf,STBI) (artach,nritte
      FORM MOTION, NO Hf,ARING REQUESTI,D {compleIe StrCliIofoS II nnd IIT}
      PROPOSED oRrlBR/coNstrNT ORDER (comptete sEcTloltis II and llt
                              StrCTION l: Hearing Information
    Nafure of Mofian:
    Estimated'I'ime Needed:
                                              SECTION         Il;   Motion/Onder Typie
 [Written rnotion attached
 flForm Mr:tion/Order
           I hereby mave for relief or action by the court as set forth in the,attached proposed order.



                                                      Plaintiff Defendant                      Date submitted
                                                      SECTIOI\ lll: Motion             Fr:e
    I t ,+tu - AMouNT: $
    fl exeue'r: n ffiild                                                orspousat supp,orr
         (check   reason)     f   Domestic Abuse or Abuse and Neglect
                              fl  lndigent Sratus I Statc Agency v. tndigerrr parry
                              J   Sexually Violent Predator Aci I posr-Conviction Relief
                              LJ Mution for Stay in Bankruptcy
                              n Motion for Publication flil,totion f'or Exe:cution (Rule 69, SCRCP)
                              I Proposed order submitted at request of the colrrt; or,
                                redused to rvriting ficm motion made in open r:ourt perjudge's instructions
                                Name of Court Reporlcr:
                                 Otlrer:
                          JUDGE'S SEC TON
I     Motion   F'ee   to bc paid upcn filing of the attaohed            JLII]CIJ CODE
order.
   Other:                                                               Date:
                                                CLERK'S VERIFICATION



      CON'|ESTED        * AMOUNT       DUE: $
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 STATE OF SOUTH CAROLINA                     IN THE COURT OF COMMON PLEAS
 COUNTY OF CHARLESTON
                                             C/A NO: 2A8-CP-L0-0849
 U.S. Bank NationalAssociation as
 Trustee, as Trustee for Velocity           Defendant's Renewal for Recusal,
 Commercial Capital Loan Trust 20L7-2       Counter Claim, Motion for Discovery,
                                            and Answer to Plaintiffs Motion for
                    PLAINTIFF,              Summary fudgment.
 VS,




 Helen Singletary
                                                                                           ,_r'
                                                                                           ?-
                                                                                                         t:
                    DEFENDANT                                                                            ri
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                                                                                 :l-,1"           *?
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                                                                                  -€:2
                                                                                    'o)'
                                                                             '
                                                                                                       1,J
   Defendant's Renewal for Recusal, Counter Claim, Motion for Discovery and "               "::



              Answer to Plaintiffs Motion for Summary |udgment.


Comes Now Defendant Helen Singletary renewing to this Honorable Court
Defendant's 5 / 2A / 2019 Motion for Recusai. ln addition Defendant Answers
Plaintiff s Motion for Summary Judgment and submits Defendant Counter Claim of
Contractual Dispute berween Defendant and Piaintiff.

Defendant kindly request this Honorable Court Recuse Judge Scarborough for the
reasons stated in Motion submitted on5/2A/2A8.

 Defendant's Counter Claim is Plaintiff has breached the contract signed between
 Plaintiff and Defendant. Defendant also amends to add Nation Star [aka Mr. Cooper)
to the lawsuit because Plaintiff subcontracted with Mr. Cooper to perform duties
where Mr. Cooper violated Plaintiff/Defendant's contractual agreement. Plaintiff
has denied Defendant the right to pay payments by means stated and agreed upon
in the initial contracl In addition Plaintiff has subcontracted to third party Mr.
Cooper to collect who has breached the standing conrract berween Plaintiff and
Defendant by adding additional illegal non-contracted fees without the consent or
agreement of the Defendant in order to cover their own additional service fees
causing irreparable damages and harm to Defendant. Mr. Cooper [Nation starJ has
admitted to their illegal actions mentioned above and settled several lawsuits as a
result for their illegal behavior. Plaintiff through their agent Mr. Cooper illegally
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  altered Defendant's escrow account outside of the mortgage agreement by changing
 and inflating the properly tax insurance and other assessments. Plaintiff through
 their agent who routinely and willfully violated SC Law and failed and refused to pay
 interest on escrow taken from Defendant. In addition Dodd Frank Wall Street
 Reform and Consumer Protection Act ("Frank Dodd"), Congress further made clear
 that state laws like SC's are to be given full force and effect, enacting 15. U.S.C. $
 1639d(gl[3i in 2010, which states: "lf proscribed by applicable State or Federa] law,
 each creditor shall pay interest to the consumer on the amount held in any impound,
 trust, or escrow account that is subject to this section in the manner as proscribed
 by that stat or Federal law." Plaintiff through its agent Mr. Cooper has failed to pay
 mandated interest. Federal Case 2:18-cv-04336 in New York, Case 3:18-cv-12085
 New ]ersey,2:15-cv-0180B washington, 8:19-cv-a2333 Marytand, 1:201g-cv-0L834
Ohio, Case 3:2019-cv -01,902 Texas and a host of other cases show the Plaintiffls
history of a pattern and practice of illegal mortgage actions against consumers.
Plaintiff through its agent Mr. Cooper has failed and refused to send legible copies of
Defendant's request for report of all activity on mortgage account. Ih 2013 the
Consumer Financial Protection Bureau Warned Mortgage Servicers about consumer
legal protections when transferring loans. Plaintiff has ignored the CFPB's warning
of their legal obligations exhibit B. Defendant requests court ordered discovery to
attain documents from Plaintiff, Defendant demands a jury trial to settle said
dispute.


Defendant Motions to the court a request for discovery pursuant Rule SC RCP 26,30,
31, 33,34, and 36.

Finally, Defendant submits to the court that not only a genuine issue of a material
fact still exist, but several issues in direct controversy still exists and forecloses
upon Plaintiffls request for Rule 55. In addition documents have been submitted to
the court that require a trial. The contractual dispute requires a court other than
the Master in Equity to hear the case because it involves more than a simple
conveyance of property. Plaintiff




                                    JURY DEMAND

Plaintiff hereby demand a trial by jury on all issues.

Dat   August,          9             Respectfully submirted,
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                                                         Ee/yc/b"W
                             CERTIFICATE OF SERVICE

 Defendants' hereby certiff that the above documents have been mailed to the
 opposing council and all relevant parties with prepaid postage.

Dated: March 27,20L9.

Respectfully Submitted




Helen Singletary
(843)6e3-2823
432tWaterview Circle
North Charleston, SC 29418
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                                    Exhibit A

 Matadi et al v. Nationstar Mortgage LLC
 Filed: August 14, 2019 as g:201gcv02833
 Plaintiff: Jenny Matadi, Julien Matadi
 Defendant: Nationstar Mortgage LLC
 Gause of Action: RESPA: servicing of Mortgage
 Loans
 Court: Fourth Circuit , Maryland , US Di$trict Court for
the District of Maryland
Type: other statutes ' other statutory Actions
Robinsono et al vs Nationstar Mortgage, LLC
Filed: Augusl 12,2019 as 1:2A1gcv01gg4
Defendant: Nationstar Mortgage, LLC
Plaintiff: Kadian D. Robinson, Ruby D. slaughter-
Robinson
Gause Of Action: Fed. euestion
Court: Sixth Circuit ' ohio ' US District Court for the

Type: other statutes , other statutory Actions
El Bey v. Nationstar et al
Filed: August g, 201g as 3:2019cv01 902
Defendant: Pacificbanc Mortgage, Nationstar, Mr
Cooper and others
Plaintiff: Aubrey Gray El Bey
Cause Of Action: Civil Rights Act
court: Fifth circuit ' Texas , us District court for the

Type: Contract ' Contract: Other Contract
NATIONSTAR MORTGAGE LLc v. THOMAS et aI
Case 17-52260-lrc    Doc 140 Filed 06/17/20 Entered 06/25/20 11:10:03   Desc
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Filed: August 8, 2019 as Z:2019cv00361
Defendant: DAVID W THOMAS, DONNA M
THOMAS
Plaintift: NATIONSTAR MORTGAGE LLC
lnterested Party: INTERNAL REVENUE sERVrcE
Cause Of Action: Diversity-Breach of Contract
court: First Circuit , Maine , us District court for the
District of Maine
Type: Real Property ' Real Propertlr: Foreclosure
callister et al v. Nationstar Mortgage LLc et ar
  Filed: August 5, 2019 as 2:2A1gcv04 1ST
  Plaintiff: Amy K. Callister, William F. Callister
  Defendant: Federal National Mortgage Association,
  Nationstar Mortgage LLC, successor Trustee s&w
  Foreclosure Corporation
 Cause Of Action: Federal Question. Other Civil
 Rights
 Court: Eighth Circuit ' Misspuri ' US District Court for
 the Western District of Missouri
 Type: Civil Rights ' Civil RightS: Other
 SCAFIDI v. NATIONSTAR MORTGAGE, LLC
 Filed: July 31 , 2019 as 3:2019cv16162
 Plaintiff: JOSEPH SCAF|D|
 Defendant: NATIONSTAR MORTGAGE, LLC d.b.a
CHAMPION MORTGAGE
Cause Of Action: Fed. Question
Court: Third Qrcuit ' New Jersey ' US District Court
for the District of New Jersey
                                                                               \
Type: Other Statutes ' Other Statutory Actions
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 Mistelske v. Equifax Information Services LLC et
 al
 Filed: July 30,2A19 as 3.2A19cv01 BZT
 Defendant: Experian lnformation Solution LLC,
Equifax lnformation Services LLC, Nationstar
Mortgage LLC and others
Plaintiff: Ronald Mistelske
Cause Of Action: Fair Credit Reporting Act
court: Fifth Circuit ' Texas ' US District court for the
Northern District of Texas
Type: Other Statutes , Other Statutes: Consumer
Credit
Woodruff v, Mason McDuffie Mortgage
Corporation et al
 Filed: July 26,2A19 as 3:2019cv04300
 Defendant: Citigroup Global Markets lnc., Texas
Capital Bank NA, Cenlar and others
Plaintiff: Kevin-Paul El Woodruff
Cause Of Action: Fed. Question
Court: Ninth Circuit ' California ' US District Court for
the Northern District of California
Type: Real Property , Real Pleperty: Foreclelsure
Hamzehloo v. Experian lnformation Solutions, lnc.
et al
Filed: July 26,2A19 as 2:2A1 gcv014?g
Defendant: Equifax lnformation Services,                   LLC,                    \
Experian lnformation Solutions, lnc., Nationstar
                                                                               \
Mortgage,     LLC
Plaintiff: Saeid Hamzehloo
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 Cause Of Action: Fair Credit Reporting Act
 Court: Ninth Circuit , California ' US District Court for
 the Eastern District of California
 Type: Other Statutes ' Consumer Credit
 Savage v. SETERUS, lNC., et al
 Filed: July 25, 2A19 as 2:2A19cv1 4256
 Defendant: SETERUS, lNC.,, Nationstar Mortgage
 LLC
 Plaintiff: Susan Savage
 Cause Of Action: Fair Debt Collection Act
 Court: Eleventh Circuit ' Florida ' US District Courl for
the Southern District of Florida
Type: Other Statutes , Consumer Credit
Caldwell v. Nationstar Mortgag€, LLC et al
Filed: July 24,2Q19 as 1.2A19cv01182
Defendant: Peyton Homes, LLC, Nationstar
Moftgage, LLC
Plaintiff: Vann Caldwell
Cause Of Action: - Real Estate Settlement
Proceedures Act
Court: Eleventh. Circuit ' Alabama ' US District Court
for_the Northern District_elf Alabama
Type: Real Property , Real Property: Foreclosure
Ken Morandi et al v. Nationstar Mortgage LLC
Filed: July 23,2019 as 2:2019cv06334
Plaintiff: Blanca Mercado, Ken Morandi
Defendant: Nationstar Mortgage LLC
Cause Of Action: Diversity-Other Contract
Case 17-52260-lrc    Doc 140 Filed 06/17/20 Entered 06/25/20 11:10:03   Desc
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 court: Ninth circuit , Carifornia ' US District court for
 thq Central District of California
 Type: Contract , Contract: Other
 HALLETT v. NATIONSTAR MORTGAGE LLc et at
 Filed: July 23,2A19 as 1:2019cv00343
 Plaintiff: M ICHAEL HALLETT
 Defendant: FEDERAL NATTONAL MORTGAGE
 ASSOCIATION, NATIONSTAR MORTGAGE LLC
 Cause Of Action: Fair Credit Reporting Act
 Court: First Circuit ' Maine ' US District court for the
 District of Maine
 Type: Other Statutes ' Consumer Credit
 DARTEE V. THE BANK OF NEW YORK MELLON
 CORPORATION et al
 Filed: July 23, 2019 as 2:201 9cv1 5795
 Defendant: NATIONSTAR MORTGAGE LLC DBA
 MR COOPER, JAMES M. GANNON, THE BANK OF
 NEW YORK MELLON coRpoRATtoN and others
Plaintiff: FRANCISCUS DARTEE
lnterested Party: FRANCtscus MAR|A DARTEE
Cause Of Action: Notice of Removal
Court: Third Circuit , New Jersey ' US District Court
for the District of New Jersey
Type: Real Property , Real Property: Forectosure
Casanova v. Nationstar Mortgage LLC.
Filed: July 22,2019 as S:2O19cv00gZg
Plaintiff: Tina Casanova
Defendant: Nationstar Mortgage LLc dlblaMr.
Cooper
Case 17-52260-lrc    Doc 140 Filed 06/17/20 Entered 06/25/20 11:10:03   Desc
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Cause Of Action: Foreclosure
court: Fifth circuit ' Texas , us District Court for the
Western District of Texas
Type: Real Property , Real Property: Foreclosure
Horne v. Nationstar Mortgage LLC dlbla Mr.
Cooper et al
Filed: July 22,2019 as 1:2}1gcv0013g
Plaintitt: Zalondra Y. Horne
Defendant: Nationstar Mortgage LLC dlblaMr.
Cooper, Connie Cobb
Cause 0f Action: Foreclosure
court: Fifth circuit ' Texas , us District court for the

Type: Real Property ' Real Property: Foreclosure
John Helmert, Jr. v. Cenlar FSB, et al
Filed. July 19, 2019 as 19-00547
Plaintiff / Appellant: JOHN C. HELMERT, JR.
Defendant / Appellee: NATTONSTAR MORTGAGE,
L.L.C., CENLAR FSB
Court: Fifth Circui! ' U.S. Court of Appeals, Fifth
Circuit
Type: Other Statutes ' Other
Shealey v. Nationstar Mortgage
Filed: July 1B,2O1g as 1:2O1gcv03264
Defendant: Nationstar Mortgage
Plaintiff: George O. Shealey
Cause of Action: Real Estate Setilement procedures
Act
Case 17-52260-lrc    Doc 140 Filed 06/17/20 Entered 06/25/20 11:10:03   Desc
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 court: Eleventh circuit , Georgia ' us District court
 for the Northern District of Gegrgia
 Type: Real Property ' Real Property: Foreclosure
 Borrani v. Nationstar Mortgage LLC
 Filed: July 18,2019 as 19-2204
 Defendant / Appellee: Nationstar Mortgage LLC,
 DBA Mr. Cooper, Shapiro, Dicaro & Barak, LLC
 Plaintitt I Appellant: Grace Borrani
 court: second circuit ' u.s. court of Appeals,
 Second Circuit
 Type: Other Statutes , Other
 Campbell v. Nationstar Mortgage, LLC
 Filed: July 17,2A19 as 1:201gcv22g7A
 Defendant: Nationstar Mortgage, LLC
 PIaintiff: Maria Campbell
Cause Of Action: Fair Debt Collection Act
Court: Eleventh Circuit ' Florida , US District Court for
the Southern District of Florida
 Pena et al v. NATIONSTAR MORTGAGE, LLC
 Filed: July 17,2019 as 0:2019cv61 Tg4
 Defendant: Nationstar Mortgage, LLC
 Plaintiff: Alexandra A. pena, Luis Espinosa
Cause Of Action: Fair Debt Collection Act
court: Eleventh circui_t , Frorida ' uS District Couft for
the Southern District of Florida
Type: Other Statutes , Consumer Credjt
Nationstar Mortgage LLC v. Edward Kielty Trust,
et al
Filed. July 15,2019 as 1g-16990
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 Defendant / Appellee: EDWARD KTELTY TRUST
 Plaintifl I Appellant: NATIONSTAR MORTGAGE
 LLC
 Defendant: ALESSI & KOENIG LLC, SUMMTT                           HTLLS
 HOM EOWNERS ASSOCIATION
 Gourt: Ninth circuit ' u.s. court of Appeals. Ninth
 Circuit
 Type: Other Statuteg , Other
 Pazos et al v. Nationstar Mortgage LLC
 Filed: July 12, 2A19 as 6:2019cv01 ZB4
 Plaintift: KRISTEN PAZOS, ROBERT PAZOS
Defendant: Nationstar Mortgage LLC
Cause Of Action: Antitrust Litigation
Gourt: Eleventh Circuit ' Florida ' US District Court for
the Middle District of Florida
Type: Other Statutes ' Other Statutory Actions
Gaya Holman v. Nationstar Mortgag€, L.L.C., et al
Filed: July 12,2019 as 1g-1 ATT?
Plaintiff / Appellant: GAYA HOLMAN
Defendant I Appellee: US BANK NATTONAL
ASSOCIATION, as Successor Trustee to Bank of
America NA, as Successor to Lasalle Bank, NA, as
Trustee for the Holders of the Merrill Lynch First
Franklin Mortgage Loan Trust, Mortgage Loan Asset-
Backed Certificates, Series 2AO7-1, NATIONSTAR
MORTGAGE, L.L.C.
Court: Fifth Circuit ' U.S. Court of Appeals, Fifth
Circuit
Type: Other Statutes ' Other
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 Bishara Kakish v. Nationstar Mortgage LLG et al
 Filed. July 11,2019 as 5:2019cv01 ZTg
 Plaintiff: Bishara Kakish
 Detendant: National Mortgage LLC, Does 1 through
 10, inclusive
Gause Of Action: Notice of Removal
Court: Ninth Circuit ' California ' U$ District Court for
the Central District of California
Type: Real Property , Real Prope.rty: Other
Griffiths v. Bennett et al
  Filed: July 11, 2A19 as J:201 gcv0050g
  Defendant: PFI Services, lnc., Cyprexx Services,
  LLC, Dorothy A Bennett and others
 Plaintiff: Charles W. Griffiths
 Cause Of Action: Federal euestion
 Court: Fourth CircUi! , Virginia , US District Court for
 the Eastern District of Virginia
 Type: Contract ' Contract: Other
 McAlpin et al v. Nationstar Mortgage et al
 Filed: July 10, 2019 as 6:2019cv00046
 Defendant: John Does 1-10, Nationstar Mortgage
 Plaintiff: Dennis McAlpin, Carrie McAlpin
Cause Of Action: Fair Debt Collection Act
court: Ninth Circuit ' Montana , US District Court for
the District of Montana
Type: Other Statutes , Consumer Credit
Gjerman v. Nationstar Mortgage LLG et al
Filed: July 10,2019 as 3:201gcvO lZTz
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 Defendant: DOES 1-10, Federal National Mortgage
  Association, lnc., Nationstar Mortgage LLC
  Plaintiff: Lori Gjerman
  Cause Of Action: Truth in Lending
  Court: Ninth Circuit , California , US District Court for
  the Southern District of California
  Type: Real Property ' Real Property: Other
  LaFave v. Nationstar Mortgage LLC
  Filed: July 9, 2019 as A:2019cv01801
 Defendant: Nationstar Mortgage LLC
 Plaintiff: Theresa LaFave
 cause of Action: Petition for Removal- Foreclosure
 court: Eighth circ-uit , Minnesota , us District court
 for the District of Minnesota
 Type: Real Property ' Real Property: Foreclosure
 Van Romburgh v. Nationstar Mortgage LLC
 Filed: July 8, 2019 as 1 .2A1gcv01962
 Plaintiff: Ansa M. Van Romburgh
 Defendant: Nationstar Mortgage LLC
Cause Of Action: Diversity-Breach of Contract
Court: Tenth Circuit ' Colorado ' US District Court fqr
the District of Colorado
Type: Real Property , Real Property: Other
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 IN THE MATTER             OFI                                       *
                                                                     t
 SETERUS, INC.
                                                                     *'r
                                                                           SETTLBTUENT AGREEMENT
 NMLS #187641                                                               AND CONSENT ORDER
     ("$eterus')                                                     *

 * * *lr * * it rf * * *   /r   * * tr * * * * * * n * * * i


        WIfEREAS, fi'otn at least January 1,2014 through and including February ZB,Z{lg (the ,.Retevant

 Period"), I(yanite Services, Inc, ("Kyanite") was the parcnt of Seterus, [nc. ("Seterus'), a Delawarc

 corporation with a main office at 3039 Cornwallis Road, Building 203 #AA145, Research Triangle park,

 Nortlr Carolina, through February 28,2A$;

       WIIEREAS, during the Relevant Period, Seterus was licensed                 as a mortgage servicer, mortgage

 iender selvicer, debt collector, third parfy loan servicer, consumer Ioan company, and mortgage lender

 under the respective laws of several states, including Counecticut, Florida, Georgia, Massechusetts,

Rhode Island, Washingtan and West Virginia (,,Examining States');

      WHEREAS, as of February 28, 2019, Seterus was sold, including all rights and cefiain liabilities,

to Nationstar Mortgage LLC dlbla Mr'. Cooper ("Purchaser") and its entire moftgage loan servicing

portfolio was transferred to Purchaser,

      WHBREAS, all references to Seterus during the Relevant Period mean the company                   as   it existed

until February 28,2019, and references to Seterus thereafter, or of its current acknowledgernent,

obligation or commitment, refer to Kyanite;

      WIIEREAS, the mofigage regulators of the Exarnining States ("State Regulators") are members of

the Conference of State Bank Supervisors and the American Association of Resideritial Mortgage

Regulators, and have agreed to address enforcernent concems with Seterus in a collective and coordinated
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  manner' \vorking through fhe Multi-State Morfgage Committee
                                                                      f'MMC").       The State Regulators and

  Seterus are collectively referred to herein as the ,,parties";

        WHERIAS, from August 15,2016 to August 26,2}l6,fhe Examining                   States conducted a   full-
  scope' moftgage-servicing examination into tlre activities of Seterus
                                                                        to determine its compliance with

  applicable State and Federal laws and regulations, financial condition,
                                                                          and the adequacy of policies aud

  procedures and control and supelision of its licensed mor"tgage
                                                                  loan        selicing operatiorrs;
        WHERIAS,       the examination rcview period was frorn     Aplil l,   2014 toMarch   y,z1rc.    Selected

 financial information in the Report of Exarnination ("ROE') was updated
                                                                         througli June 30, 2016, and
 additional operations and activity by Seterus through the execution of the
                                                                            Settlernent Agreement and

 Consent Order ("Conse*t Order") were also considered;

       WHERtrAS,      as a result   of such examination, the State Regulators issued an ROE, dated August 16,

 2016, alleging several findings of non-cornpliance by Seterus with industry
                                                                             standards and State and

 Federal laws and regulations;

       WIIEREAS, on October 16,2A17, Seterus provided a respons€ to the ROE disputing certain

 purported findings as inaccurate or incorect;

       WHEREAS, the Parties acknowledge and agree that tlre State Regulatorc have legal
                                                                                        authority to
 initiate administrative aetions ol judicial proceedings against Seterus based
                                                                               on the conduct within the

ROE' However, the parties agree to resolve the alleged deficient conduct of         Seterus identified within the

ROE and provided herein thr.ough this Consent Order;

      WIIEREAS, the State Regulators allege that from April2014 to June 2016, Seterus commjtted

certain violations of State and Federal laws and regulations as set fordr in the
                                                                                 ROE including failing to

timely respond to qualified written requests in violatiorr of section 1024,36(dx2)
                                                                                   of the Real Estate
Settlement Frocedurcs Act,   l2 CFR Pad     1024 ("RESPA"), failing to exercise reasonable diligence in

obtaining documents and information to complete loss mitigation applications
                                                                             in violation of Section
1024'41(bXI) of RESPA, failing to tirnely acknowledge receipt of bonower Ioss
                                                                              mitigation applicarions
iri violation of sectiorr 1024.41(bXzXiXB) of RESPA, failing to include
                                                                        in notices a rcasonable date by


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  which borrowers should subrnit documents and information necessary to make loss pritigatio'

 applications complete in violation of Section 1024.41(bxz)(ii) of RESPA, failing to obtain audits

 pursuant to the Uniform Single Audit program for Mor"tgage Bankers as approved
                                                                                by the Mortgage

 Banleers Association of America, failing to   file accurate rcpo$s, failing to provide   aocess   to books and

 records, failing to update a change to a Nationwide Multistate Licensing System and Regisfiy          (.NMLS")
 disclosure question within ten {10) days of such change, ccllecting a late fee that exceeded the contractual

 maximum amount allowed and failing to implement a complianc€ management system and formal audit

 program to effectively manage the compliance and business risk of its consumer collections
                                                                                            operations;

       WHEREAS, Seterus, besed upon an irrternal audit disclosed during the examination, fuither

 self-r'eported to the Examining States that it (the below hereinafter referred to as "Additional
                                                                                                  Conduct"):

       (a)   improperly collected late fees in excess of Six Million Dollars ($6,000,000) from over fifty
             thousand (50,000) bomowers, from a period of time commeneing in 2013, up to and ilcluding
             2016; and

       (b)   identified issues with its loss mitigation application acknowledgement process and responsive
             letter sent in etror (hereinaftet the"L266IetteC'), or with inaccuracies or other deficiencies in
             their L266letters to consumers;

       WHEREAS, Seterus continued to disclose to the Examining States results from its internal audit

and has ftrrther represented that it had performed the following forms of remediation:

      (a)    distributed restitution in excess of Six Million Dollars ($6,000,000) as of the date of this
             Consent Order, further rcpt'esenting that all borrowerc that were impacted by the irnproperly
             charged and collected late fees would be refunded in full;

      (b)    made enhancements to its L266 letter prCIduction process; and

      (ci    installed and/or enhanced the quality conilols process for ttre L266 lefters including, but not
             lirnited to, installing a population tracker, tracking conections, enlrancing review ol
             documents for accuracy and periodically sampling lefierr for compliance.


      WIIEREAS, Setetus fu*her represents that it is engaged in and remains in the process of

negotiating the restitution and otherwise full remediation towards consumers adversely impacted by the

improper and incorrect L266 letters and other issues involved with the loss mitigation application




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  acknowledgement process, which customer remediation is set to be wholly addressed
                                                                                    as paft of a separate

  and distinct mafter;

        WIIEREAS, the Examining States believe that the failure of Seterus to comply with provisions
                                                                                                     of
  the' laws   of the Examining States and applicable Federal laws constitutes grounds for administrative

  action, including, but not lirnited to, the imposition of administrative fines or civil penalties, up
                                                                                                        to

  suspension or rcvocation of a license or regisflafion granted by an Exarnining State,
                                                                                        specifically Seterus,s

 mo*gage selicer license (CT), mortgage lender servicer license (FL), rnortgage lender
                                                                                       license (GA),

 debt c'ollector license (MA), debt collector rcgistration and third party loan servicer license (RI),

 consumer loan company license         (wA)   and mortgage lender license   iwv);
        WHEREAS, the Pamies acknowledge the possible consequences of formal adrninistrative or

 judicial proceedings, and the risks and expenses involved in such proceedings,
                                                                                     ancl Seterus   volultarily
 agrees to consent to the entry of the sanctions imposed below solely for the pul'pose
                                                                                       of obviating the need

 for formal administrative and judicial praceedings coneerning the allegations set fonlr herein and without

 admitting any of the allegations set forth herein;

       WHEREAS, the Pafties now desire to resolve the matters set forth herein;

       WHEREAS, Seterus specifieally assules the State Regulators that Seterus will not engage in the

violations alleged herein in the future;

       WHEREAS, Seterus and/or Purchaser has voluntarily surrendered Seterus' mortgage servicing or

other applicable licenses in all states in which Seterus was engaged in mortgage servicing
                                                                                           activities

requiring licensure;

       WIIEREAS, Seterus has been advised that the acceptanc€ of said licensure sumender by the

Examining states is conditioned, in part, on the execution of this consent order;

      WEEREAS, Seterus acknowledges that this Consent Order is a public record and is a reportable

event for Furposes of the regulatory disclosure questions on NMLS, as applicatrle;

      WHEREAS, Setertts, through its execution of this Consent Order, voluntarily agrees to waive its

ptocedural rights   as   they concern any aspect of this Consent order, including a right to a notice and an


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     oppottunity for a hearing and/orjudicial proceedings as tlrey pertain to the allegations set forth
                                                                                                        herein,

 and voluntarily waives its right to seek judicial review or otherwise challenge or contest
                                                                                            the validity     of
 this Consent Order;

          WHEREAS, Seterus voluntarily agrees to consent to the entry of the terms imposed hercin withoat

 admitting any iiability, fault or wrongdoing and solely for the purpose of resolving this matfer and

 obviating the need fol further fonnal administlative proceedings concerning the allegations in the Order

 and Notice and set forth herein;

          Al{D WHEREAS' Kyanite         represents that, as the parent of Seterus during the Relevant period,     it
 has authority to enter into this Consent Order, and that the person    signilg this Consent Order on behalf of
 Kyanite is duly authorized to execute this Consent Ordel for conduct occurring prior to February ?g,

2019.

          NOW TIIEREFORE, by this Consent Order, having been negotiated by the Parties in order to

resolve the issues identified herein without incurring the costs, inconvenience and delays associated
                                                                                                      with
protracted administrative and judicial proceedings, the Examining States her.eby ORDER:



                                               L CIVIL PENALTY
L        Civil Penalty: No later than the date this Consent Ordel is executed by Seterus, it shall remit the
         sum of Three Hundred Fifly Thousand Dollars ($350,000i as a civil penalty, tobe divided equally
         among the State Regulators of the Examining States. Seterus shall pay tliis civil penalty by t'he
         means designated by each of the Sfate Regulators.



                                       tr.   COMPLIANCE MEASURES

2.       Cease and   Desist: Seterus shall cease and desist from failing to timely r.espond to qualified witten
         I€quests in violation of Section 1024.36(dX2) of the Real Estate Settlemeni procedures hct,lZ
         CFR Part 1024 (*RESPA"), failing to exercise reasonable diligence in obtaining documents and
         infonnation to complete loss rnitigation applications in violation of Section 102?.41(bxt) of
        RESPA, failing to timely acknowledge receipt of borower loss mitigation applications in violation
        of Section 1024.41(bXzXiXB) of RESPA, failing to include in notiees a reasonable date by which
        borrowers should submit documents and information necessary to make loss mitigation applications
        complete in violation of Section 1024.41{bxz)(ii) of RESPA, failing to obtain uudit" pursuant to the
        Unifoffin Single Audit progrnm for Mortgage Bankers as approved by the Mortgage Bankers
        Association of America, failing to file accurate repofis, failing to provide u"**ri ti books ald
        re^cords, failing to update a change to a Nationwide Multistate Lic-ensing System and Registry
        ("NMLS") disclosure question within ten (10) days of such change,                 a late feeihat'
                                                                               "oll""iing

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            exce€ded the contractual maximum amount allowed, and failing to implement a
                                                                                                 compliance
            management system and fonnal audit program to effectively manage the cornpliance and business
            risk of its oonsurnet' collections opetations. Seterus shall further cease and desist from engaging
                                                                                                                in
            any ofthe aforestated additional conduct.

     J.    Ac-counting of Restitution af Late Fees: Within sixty (60) calendar days following the effective
                                                                                                            date
            of this Consent Order, Seterus shall submit to the Ex*mining States aieport in Eicel format
            containing at a minimum, the following loan information for each borrower adversely impacted by
           the improperly changed and colleeted late fees: the name of the borrower; the loan account
           numbet, the amount offered, t}re amount paid, the method of payrnent, and the state of the propeffiy
           slbject to the mortgage, On that same date, Seterus will provid-e an executed affidavit coniuming
           that all irnpacted bonowers have been remediated.



                                            IIL GENERAL PROVISIONS
 4.        Jurisdiction: Pursuant to the licensing and supervision laws of the Examining States, the State
           Regulators have jurisdiction over Seterus as described herein and may enforcE the terms of this
           consent order thereon unless otherwise stated in triis consent order,

 5.        Binding Nature: The terms of this Consent odel shall be legally binding upon Kyanite,s offrcers,
           owners' ditectors, employees, heim, successorc and assigns. Notwithstanding, for:avoidance
                                                                                                           of any
           doubt, the obligations under this Consent Order shall not apply to Purchaser,-o, uny of i1" officers,
           owners, dh'ecfors, employees, heim, ,successors, ol assigns.
                                                                          -   -




6.        Standing and Choice of Law: Each State Regulator has standing to enforce this Consent Order jn
          the judicial or administrative ptocess otherwise authorized undei the laws and regulations of
                                                                                                          the
          conesponding Examining State. Upon entry, this Consent Order shall be deemed a final order of
          each respective State Regulator unless adoption ofa subsequenf agreement is necessary under
                                                                                                            the
          terms of the corresponding state. In the event of any disagreemeni between any State it-egulator
                                                                                                              and
          Seterus regarding the enforceability or interpretation of this Consent Order anj compliance
          therewith, fhe coutts or adrninistrativi agency authorized under the laws of the respective state shall
          have exclusive jurisdiction over the disputes" and the laws of such state shall govern the
          interpletation, construction and enforceability of this consent order.

7.        Ado,Ption of Strbsequent Orderc tu fncorporate Terms: A State Regulator, if deemed necessar_v
          undel the laws and rcgulations of the respective state, may issue a separate administr ative order to
          adopt and incorporate the terms and conditions of this consent ordei.

8.        Titles'- The titles used to identifu the paragraphs of this Consent Order n1.e for the convenience   of
          reference only and do not control the interpr.etation of this consent order.

9.        Counterparls: This Consent Order rnay be executed in sepalate counterparts. A copy cf the signed
          Ccnsent Order shall be given the same effect as the originally signed Consent Ordei.'

t0.       Final Agreement: This Consent Order supemedes any prior oral or written discussion or agreement
          and consfitutes the entire agreement befween the Parties relating to the ROE^ Upon issuance
                                                                                                             of this
          Consent Order by each State Regulator, this matter will be resolved with the respective State
          Regulator and such State Regulator will not take any future enforcement action against Seterus,
          I(yanite, or Purchaser, their successors or assigns, or any of their officers, o*nrri directors,
          employees, heirs, successors, assigns, parents, or affiliates based upon the allegatirons sef forth



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          herein, provided that issuance of this Consenf Order is without prejudice to the r-ight of a
                                                                                                       State
         Regulatof to take enfotrement action against Seterus based upon a violation of thTs Consent
                                                                                                           Order.
         or the rnattets underlying its enhy, if a State Regulator determines that compliance with the terms
         herein is not being obssrved or if any representation made by Seterus ancl reflected herein
                                                                                                        is
         su_bsequently discovered to be untrue. Nothing in this Consent Order shall be construed as
                                                                                                         li'riting
         a State Regulator's ability to take enforcement action against Seterus based upon evidence
         indicating that Seterus withheld infonnation from, or made any misstatement or omission to a State
         Regulator in comection with this matter.

 11.      Enforcement; No Restriction on Existing Exanrination and Investigation Author.ity: This Consent
          order shall in no way preclude any Examining State fi'om exercising its examinaiion or
          investigation authority under the laws of the corresponding Examini-ng State in the instance a
          determination is made wherein Seterus is found not to be adhering to the requirements of flris
          Consent Order, other than inadvettent and isolated errorc that are promptly corected by Seterus,
                                                                                                               or
          involving any unrelated matter not subject to the terms of this Consent Order'. Nor shail the
         provisions of this Consent Order limit, estop, or otherwise prevent any other state agency or
         department, from taking any other action affecting Seterus and/or any of its officeri directors
                                                                                                           or
         managers. Provided Seterus complies with the terms of the Consent Order, the State Regulators
         agree that they will not seek additional penalties related to fhe allegations contained in the Order.
         Fufthetmore, nothing in the Consent Order prohibits the State Regulators frum taking
         administrative action on new issues discovercd during the pendency of the Consent Srder; or.
         thereafter.

 12.    Noncompliance: That, notwithstanding any other relief tq the contrary, if Seterus fails to comply
        with the terms and conditions of this Consent Order, the State Regulaior.s may pursue any actibn
        allon'ed by law conceming the conduet and compliance violationi stated in theROE, such acfion
        including, but not limited to, suspension or revocation of a license issued by the State Regulators to
        Seterus, imposition of a civil money penalty against Seterus, or any other rlmedy allowe] by
                                                                                                         law.
        The Parties agree that the failure of Seterus to comply with any term or condition of this Agreement
        with respect to a particular State shall be treated as a violation of an Order of the State andLay be
        enforced as such. Moreover, Seterus aclcncwledges and agrees that this Agreement is only ninding
        on the State Regulators and not any other Local, State or Federal Agency, bepartment or bffi*". -

13.     Sharing of Infonnation and Cooperation: The Examining States may collectively or individually
        request and reoeive any information or documents in the possession of the MMC, This Consent
        Order shall not limit Seterus's obligations, as s licensee olan Examining Stafe, to cooperate with
        any examination or investigation in any Examining State.

14.     Public Stalements: Seterus shall not take any action or make or permit to be made any public
        statement, including in regulatory filings or othenrise, denying, directly or indireetly, any
        allegation referenced in this Consent Order or create the irnpGsion that this Consenf Or.der is
        without factual basis. However, nothing in this paragraph shall prevent Seterus, Kyanite, or any of
        their officers, owners, directors, employeos, heiru, succesrorc, asrigns, parentso or affiliates fi-om
                  or refuting any statement in connection with any criminat, civit, administrative, or private
        }$in8
        litigation, investigation or action initiated against Kyanite or Seterus by any other parly other th*n
        one of the Exarnining States.

r5,     Licensure: Subject to tlie foregoing, and so long as this Consent Order is prcmptly disctosed by
        Seterus or Kyanite and ifs control persons on NMIS, as applieablq nothing in the irruance of this
        Consent Order shall adversely affect the ability of SeteruJor Kyanite to apf,ly for or obtain licenses
        or renewal licenses to act as a mortgage seruicer (CT), mortgage lender r.rui.*r (FL), mongage


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       lender (GA), debt collector (MA), debt collector and third party loan
                                                                                servicer fRI), consumer loan
       company (WA) and mortgage lender (wV), provided all alplcable
                                                                              legal requirements for any such
       licenses ate satisfied. Fudher, at the sole discretion of the dxaminingltates,
                                                                                         any licensure
       appJication by seterus may be required to. be supported by documentlry
                                                                                   *uii"nce showing that all
       of the above-referenced violations have either beln remediated in full by
                                                                                    Seterus prior to the sale
       and tansfer of the servicing portfolio or as a function of said sale
                                                                            and tiansfer oritre seruicing
       portfolio to Nationstar Mortgage LLC dlblaMr. Cooper and fully
                                                                         agrees to cooperate and assist a
       requesting Examining State with the furnishing of said proof of coripliance,

l6'    Release: Upon issuance of this Consent Order by the Examining States,
                                                                                    this matter will be rcsolved
       and the Exarnining States will not take any future enforcement
                                                                          action against Seterus, Kyanite, or
       Putchasel orany oftheir officers, owners, directors, employees, heirs,iuccessors,
                                                                                                 assigns, parents,
       or affrliates andlor their past or present parents, sue"e*.orc or assigns based
                                                                                        upon tfr" uit"gution, ,"i
       forth herein, the RoE or the Additional Conducq provided that thJ issuance
                                                                                        *f tlri* Consent Order
       is w-ithout prejudice to the right of the Examiningbtates to take enforcement
                                                                                         action againsf Seterus
       or Kyanite based upon a finding that Sererus has materially failed to comply
                                                                                        wirh theierms herein,
       if any material knowing rnislepresentation is rnade by Seterus or Kyanitg or is subsequently
       discovered to be unt'ue.

l'1'   Effictive Datet ThisConsent Order shall become effecrive upon execution by all parties.

It is so ORDERED,




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        r,      lnt;*fn*L+                                 state on behalf of Kyanite as the parent of Seterus through

 February 28,2019 (*Kyanite"), that I have read the foregoing Settlement Agreement and Consent Order;

 that I know and fully understand its contents; that I am a*thorized to execute this Settlement Agreement

 and Consent Order on behalf of Kyanite; fhat Kyanite agrees freely and without tlueat or coercion of any

 kind to comply with the sanctions entercd and terms trnd conditians ordered herein; and that l(yanite

 voluntarily agrees to enter into this Sefflement Agreement and Consent Order, expressly waiving the

 prccedural rights set fonh herein as fo the matters described




State of:

counry or:      Dl\-           a


      On     this tlre I   -   day   of    Au"r+   r.,--   2019, before   *", Lr\r!?UU@                                      ,rn"
undersigned officer, personalty            upplur*a    [ :l;tf,o.\<                      who acknowtedged

himself/herself to be tfr"         flfr:   io[<.rl-                of Kyanite Services, Inc., a corporation and prior

parent company of the subsidiary Seterus, Inc., a corporation, and that he/she as suclt

Qr ctr).-$-                          being authorized so to do, executed the foregoing instrument for the purposes

therein contained, by signing the name of the corporation by hirnselfiherself             a,   T?-s'-"i'.*,/*
      In witness whereof I hereunto sef my hand.




                                                                  Date Commission Expires:
                                                                                                Ju^t frtoas
                                                                                           FTAHCET EUZAEETI{
                                                                                               ilotart l0   lttltS0ltl
                                                                                               lly Cofimlrrion     Expirer
                                                                                                  , June    5,   20lI   .




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                                                rRs




                             HUGHES,
                             LESLIE D.
